Filed 01/20/21                                                         Case 21-20172                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                Sunergy California LLC

  2.   All other names debtor
       used in the last 8 years
       Include any assumed
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    4801 Urbani Avenue
                                    McClellan, CA 95652
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                      Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       http://www.sunergyus.com/


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




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  Debtor    Sunergy California LLC                                                                       Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.



  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
                                            Chapter 7
       debtor filing?
                                            Chapter 9

       A debtor who is a “small             Chapter 11. Check all that apply:
       business debtor” must check
       the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
       subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
       (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
       check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                               District                                When                                  Case number
                                                    District                                When                                  Case number


  10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                    District                                When                              Case number, if known


  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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  Debtor   Sunergy California LLC                                                                    Case number (if known)
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or          No
      have possession of any
      real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                      Yes.
      property that needs
      immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                               Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                  No
                                                  Yes.    Insurance agency
                                                          Contact name
                                                          Phone



           Statistical and administrative information

  13. Debtor's estimation of      .         Check one:
      available funds
                                               Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                        5001-10,000                                 50,001-100,000
                                      50-99
                                      100-199                                          10,001-25,000                               More than100,000
                                      200-999

  15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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  Debtor     Sunergy California LLC                                                            Case number (if known)
             Name




  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                    Chapter     11
                                                                                                                            Check if this an
                                                                                                                            amended filing




                                                         FORM 201. VOLUNTARY PETITION

                                                      Pending Bankruptcy Cases Attachment



  Debtor     CEEG (Nanjing) Renewable Energy Co., Ltd.                                Relationship to you               Affiliate
  District   Nanjing, China                             When     7/03/20              Case number, if known
  Debtor     CEEG (Shanghai) Solar Science Technology Co.,Ltd                         Relationship to you               Affiliate
  District   Shanghai, China                            When     10/18/19             Case number, if known
  Debtor     China Sunergy (Hong Kong) Co., Ltd                                       Relationship to you               Affiliate
  District   Hong Kong, China                           When     10/22/18             Case number, if known
  Debtor     China Sunergy (Nanjing) Co., Limited                                     Relationship to you               Affiliate
  District   Nanjing, China                             When     7/03/20              Case number, if known




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 5
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   Fill in this information to identify the case:
   Debtor name Sunergy California LLC
   United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                  CALIFORNIA
   Case number (if known):                                                                                                                              amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Aluko America, Inc.                     Trade Debts                                    Unliquidated                                                                    $306,310.37
   Michael John
   330 Washington St.,
   PMB 431
   Hoboken, NJ 07030
   Avalon Risk                             Cash Collateral                                Contingent                  $970,000.00                        $0.00            $970,000.00
   Management            bond_underwriting
   Insurance Agency      @avalonrisk.com
   150 NW Point Blvd
   2nd Floor
   Elk Grove Village, IL
   60007
   Borrego Solar                           Trade Debts                                                                                                                    $592,207.00
   Systems, Inc.
   Aaron Hall
   5005 Texas Street,
   Suite 400
   San Diego, CA
   92108
   CHANGZHOU                               Trade Debts                                                                                                                    $456,998.26
   ALMADEN CO., LTD
   NO.639
   Mingxing Zhou,
   QINGLONG EAST
   ROAD,
   CHANGZHOU,
   JIANGSU, CHINA
   CHINA MACHINERY                         Trade Debts                                                                                                                  $1,049,321.80
   INDUSTRY
   INTERNATIONAL
   COOPERATION CO.,
   LTD.
   Building A No.18
   Dirun Road,
   Zhengdong
   New District,
   Zhengzhou, Henan
   Province,

  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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Filed 01/20/21                                                                   Case 21-20172                                                                                            Doc 1



   Debtor    Sunergy California LLC                                                                             Case number (if known)
             Name

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Coldwell Solar LLC                     Trade Debts                                                                                                                     $360,954.05
   Dave Hood
   500 Menlo Dr #100
   Rocklin, CA 95765
   Depcom Power Inc.                      Court Judgment                                  Contingent                                                                    $3,732,194.50
   Jennifer C. Hayes                                                                      Disputed
   9185 E Pima Center
   Pkwy, Suite 100
   Scottsdale, AZ
   85258
   East West Bank,                        Bank Loan                                                                                                                       $597,000.00
   Dorothy Zhao
   900 Webster St., 2nd
   Fl
   Oakland, CA 94607
   Edges Electrical                       Trade Debts                                                                                                                     $275,918.00
   Group
   Shawna Crandell
   1701 National Drive
   Suite 200
   Sacramento, CA
   95765
   Kai Yu                                 Kai Yu                                                                                                                        $1,064,139.27
   Hangzhou Freedom                       +86-57188253203
   Import&Export                          yukai@confirmwa
   Co.,LTD.                               re.com
   No.9-1, Binwen                         Trade Debts
   Roard, Bingjiang
   District
   Hangzhou,
   P.R.China
   LIGHT & HOPE                           Trade Debts                                                                                                                     $465,200.00
   ENERGY INC
   Lynton Lin
   17800 Castleton
   Street Suite 406
   City of Industry, CA
   91748
   MP Holdings, LLC                       Cash Deposit                                    Contingent                  $399,012.00                        $0.00            $399,012.00
   3140 Peacekeeper     KGiannotti@mcclel
   Way                  lanpark.com
   McClellan, CA 95652
   NINGBO GZX PV                          Trade Debts                                     Disputed                                                                        $446,243.70
   TECHNOLOGY
   CO,.LTD
   Sam Cen, No. 28
   Binhai 5th Road,
   Hangzhou Bay
   NewDistrict,Cixi,
   Zhejiang,
   P.R.China



  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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   Debtor    Sunergy California LLC                                                                             Case number (if known)
             Name

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Seraphim Solar USA                                              Litigation             Contingent                                                                    $1,926,930.05
   Manufacturing Inc.
   Steven Ostrenga
   3111 Lawson St
   Jackson, MS 39213
   SFC CO., LTD.                                                   Trade Debts                                                                                            $664,775.40
   James Gwon                                                      James Gwon
   682 Naepo-ro,                                                   +82 41 640 0002
   Guhang-myeon                                                    gsg@sfcltd.co.kr
   Hongseong-gun,
   Chungnam-do,
   32213, Korea
   Solare America Inc. ,                                           Trade Debts                                                                                            $500,395.10
   John Scorsone
   207 State Road,
   Suite 100
   Upper Darby, PA
   19082
   U.S. Customs and                                                CBP Bill               Unliquidated                                                                    $263,701.57
   Border Protection
   6650 Telecom Drive
   Suite 100
   Indianapolis, IN
   46278
   Warner Energy, LLC                                              Trade Debts                                                                                            $771,049.58
   Joseph Drescher
   7526 Morgan Road
   Liverpool, NY 13090
   XPO GLOBAL                                                      Trade Debts            Disputed                                                                        $881,849.12
   FORWARDING, INC.
   Gene Komsky
   290 Gerzevske Lane
   Carol Stream, IL
   60188
   YIYIN ENERGY VIET                                               Trade Debts                                                                                            $343,524.00
   NAM., LTD
   Jiang Hai Ying LOT
   B6, DINH TRAM
   INDUSTR
   ZONE,HOANG NINH
   COMMUNE, VIET
   YEN
   DISTRICT, BAC
   GIANG PROVINCE,
   VIETNAM




  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Filed 01/20/21                                                                                       Case 21-20172                                                                                                     Doc 1

     Fill in this information to identify the case:

     Debtor name            Sunergy California LLC

     United States Bankruptcy Court for the:                       EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

     Part 1:      Summary of Assets


     1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

           1a. Real property:
               Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

           1b. Total personal property:
               Copy line 91A from Schedule A/B.........................................................................................................................                     $        7,629,993.11

           1c. Total of all property:
               Copy line 92 from Schedule A/B...........................................................................................................................                    $        7,629,993.11


     Part 2:      Summary of Liabilities


     2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,369,012.00


     3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           3a. Total claim amounts of priority unsecured claims:
               Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

           3b. Total amount of claims of nonpriority amount of unsecured claims:
               Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       15,857,541.53


     4.    Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                           $         17,226,553.53




     Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
    Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
Filed 01/20/21                                                               Case 21-20172                                                                 Doc 1

     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

             No. Go to Part 2.
             Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                                debtor's interest

     Part 2:          Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

            No. Go to Part 3.
            Yes Fill in the information below.

     7.        Deposits, including security deposits and utility deposits
               Description, including name of holder of deposit

     8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
               Description, including name of holder of prepayment


               8.1.     As of 08/21/2020                                                                                                 $1,435,762.00




     9.        Total of Part 2.                                                                                                      $1,435,762.00
               Add lines 7 through 8. Copy the total to line 81.

     Part 3:          Accounts receivable
    10. Does the debtor have any accounts receivable?

            No. Go to Part 4.
            Yes Fill in the information below.

     11.       Accounts receivable
               11a. 90 days old or less:                         1,293,836.50    -                                0.00 = ....            $1,293,836.50
                                                  face amount                        doubtful or uncollectible accounts




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 1
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     Debtor         Sunergy California LLC                                                           Case number (If known)
                    Name


     12.       Total of Part 3.                                                                                                        $1,293,836.50
               Current value on lines 11a + 11b = line 12. Copy the total to line 82.

     Part 4:        Investments
    13. Does the debtor own any investments?

            No. Go to Part 5.
            Yes Fill in the information below.


     Part 5:        Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

            No. Go to Part 6.
            Yes Fill in the information below.

               General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                          physical inventory         debtor's interest      for current value       debtor's interest
                                                                                     (Where available)

     19.       Raw materials
               Raw Materials                                                                       $0.00                                   $2,452,844.99



     20.       Work in progress
               Work in Progress                                                                    $0.00                                     $344,540.44



     21.       Finished goods, including goods held for resale
               Finished Goods                                                                      $0.00                                   $1,938,597.10



     22.       Other inventory or supplies

     23.       Total of Part 5.                                                                                                        $4,735,982.53
               Add lines 19 through 22. Copy the total to line 84.

     24.       Is any of the property listed in Part 5 perishable?
                   No
                   Yes

     25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
                   No
                   Yes. Book value                                       Valuation method                        Current Value

     26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
                   No
                   Yes

     Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

            No. Go to Part 7.
            Yes Fill in the information below.


     Part 7:        Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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Filed 01/20/21                                                               Case 21-20172                                                                Doc 1

     Debtor         Sunergy California LLC                                                        Case number (If known)
                    Name


            No. Go to Part 8.
            Yes Fill in the information below.

               General description                                                Net book value of      Valuation method used   Current value of
                                                                                  debtor's interest      for current value       debtor's interest
                                                                                  (Where available)

     39.       Office furniture

     40.       Office fixtures

     41.       Office equipment, including all computer equipment and
               communication systems equipment and software
               Office Equipment                                                                 $0.00                                     $130,112.08



     42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
               books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
               collections; other collections, memorabilia, or collectibles

     43.       Total of Part 7.                                                                                                          $130,112.08
               Add lines 39 through 42. Copy the total to line 86.

     44.       Is a depreciation schedule available for any of the property listed in Part 7?
                   No
                   Yes

     45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                   No
                   Yes

     Part 8:        Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

            No. Go to Part 9.
            Yes Fill in the information below.

               General description                                                Net book value of      Valuation method used   Current value of
               Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
               (i.e., VIN, HIN, or N-number)                                      (Where available)

     47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


     48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
               floating homes, personal watercraft, and fishing vessels

     49.       Aircraft and accessories


     50.       Other machinery, fixtures, and equipment (excluding farm
               machinery and equipment)
               Other Machinery                                                                  $0.00                                      $34,300.00



     51.       Total of Part 8.                                                                                                        $34,300.00
               Add lines 47 through 50. Copy the total to line 87.

     52.       Is a depreciation schedule available for any of the property listed in Part 8?
                   No
                   Yes

    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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     Debtor         Sunergy California LLC                                                       Case number (If known)
                    Name

     53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
                   No
                   Yes

     Part 9:        Real property
    54. Does the debtor own or lease any real property?

            No. Go to Part 10.
            Yes Fill in the information below.


     Part 10:       Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

            No. Go to Part 11.
            Yes Fill in the information below.


     Part 11:       All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

            No. Go to Part 12.
            Yes Fill in the information below.




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 4
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     Debtor          Sunergy California LLC                                                                              Case number (If known)
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                                     $0.00

     81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,435,762.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,293,836.50

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                           $4,735,982.53

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                        $130,112.08

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $34,300.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

     91. Total. Add lines 80 through 90 for each column                                                         $7,629,993.11            + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $7,629,993.11




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
             No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
             Yes. Fill in all of the information below.
     Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
           Avalon Risk Management
     2.1                                                                                                                       $970,000.00                       $0.00
           Insurance Agency                               Describe debtor's property that is subject to a lien
           Creditor's Name                                Cash Collateral
           150 NW Point Blvd 2nd
           Floor
           Elk Grove Village, IL 60007
           Creditor's mailing address                     Describe the lien


           bond_underwriting@avalo                        Is the creditor an insider or related party?
           nrisk.com                                         No
           Creditor's email address, if known                 Yes
                                                          Is anyone else liable on this claim?
           Date debt was incurred                            No
                                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           5694
           Do multiple creditors have an                  As of the petition filing date, the claim is:
           interest in the same property?                 Check all that apply
               No                                            Contingent
               Yes. Specify each creditor,                   Unliquidated
           including this creditor and its relative          Disputed
           priority.



     2.2   MP Holdings, LLC                               Describe debtor's property that is subject to a lien                 $399,012.00                       $0.00
           Creditor's Name                                Cash Deposit
           3140 Peacekeeper Way
           McClellan, CA 95652
           Creditor's mailing address                     Describe the lien


           KGiannotti@mcclellanpark.                      Is the creditor an insider or related party?
           com                                               No
           Creditor's email address, if known                 Yes
                                                          Is anyone else liable on this claim?
           Date debt was incurred                            No
                                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number

           Do multiple creditors have an                  As of the petition filing date, the claim is:
           interest in the same property?                 Check all that apply



    Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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     Debtor       Sunergy California LLC                                                            Case number (if known)
                  Name

               No                                            Contingent
               Yes. Specify each creditor,                   Unliquidated
           including this creditor and its relative          Disputed
           priority.



                                                                                                                             $1,369,012.0
     3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

     Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                                   you enter the related creditor?   account number for
                                                                                                                                                     this entity




    Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

                 No. Go to Part 2.

                 Yes. Go to line 2.

           2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
              with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

     2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
               EMPLOYMENT DEVELOPMENT                                    Check all that apply.
               DEPT.                                                        Contingent
               P.O. BOX 826880 MIC 28                                       Unliquidated
               Sacramento, CA 94280                                         Disputed

               Date or dates debt was incurred                           Basis for the claim:


               Last 4 digits of account number                           Is the claim subject to offset?
               Specify Code subsection of PRIORITY                          No
               unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                            Yes


     2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
               FRANCHISE TAX BOARD                                       Check all that apply.
               P.O. BOX 2952                                                Contingent
               Sacramento, CA 95812-2952                                    Unliquidated
                                                                            Disputed

               Date or dates debt was incurred                           Basis for the claim:


               Last 4 digits of account number                           Is the claim subject to offset?
               Specify Code subsection of PRIORITY                          No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                            Yes




    Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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     Debtor       Sunergy California LLC                                                                          Case number (if known)
                  Name

     2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
               Internal Revenue Service                                  Check all that apply.
               4330 Watt Ave                                                Contingent
               Sacramento, CA 95821                                         Unliquidated
                                                                            Disputed

               Date or dates debt was incurred                           Basis for the claim:


               Last 4 digits of account number                           Is the claim subject to offset?
               Specify Code subsection of PRIORITY                          No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                            Yes



     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                          Amount of claim

     3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $306,310.37
               Aluko America, Inc.                                                         Contingent
               Michael John                                                                Unliquidated
               330 Washington St., PMB 431
                                                                                           Disputed
               Hoboken, NJ 07030
               Date(s) debt was incurred
                                                                                       Basis for the claim:     Trade Debts
               Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes

     3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $178,173.93
               Atlantic Clean Energy Supply LLC.                                           Contingent
               Gene Li                                                                     Unliquidated
               18 Culnen Drive
                                                                                           Disputed
               Branchburg, NJ 08876
               Date(s) debt was incurred
                                                                                       Basis for the claim:     Litigation
               Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes

     3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $592,207.00
               Borrego Solar Systems, Inc.                                                 Contingent
               Aaron Hall                                                                  Unliquidated
               5005 Texas Street, Suite 400                                                Disputed
               San Diego, CA 92108
                                                                                       Basis for the claim:     Trade Debts
               Date(s) debt was incurred
               Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


     3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $456,998.26
               CHANGZHOU ALMADEN CO., LTD NO.639                                           Contingent
               Mingxing Zhou, QINGLONG EAST ROAD,                                          Unliquidated
               CHANGZHOU, JIANGSU, CHINA                                                   Disputed
               Date(s) debt was incurred
                                                                                       Basis for the claim:     Trade Debts
               Last 4 digits of account number
                                                                                       Is the claim subject to offset?     No       Yes

     3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $1,049,321.80
               CHINA MACHINERY INDUSTRY                                                    Contingent
               INTERNATIONAL COOPERATION CO., LTD.                                         Unliquidated
               Building A No.18 Dirun Road, Zhengdong                                      Disputed
               New District, Zhengzhou, Henan Province,
                                                                                       Basis for the claim:     Trade Debts
               Date(s) debt was incurred
               Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 6
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     Debtor       Sunergy California LLC                                                                  Case number (if known)
                  Name

     3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $360,954.05
              Coldwell Solar LLC                                                    Contingent
              Dave Hood                                                             Unliquidated
              500 Menlo Dr #100                                                     Disputed
              Rocklin, CA 95765
                                                                                 Basis for the claim:    Trade Debts
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


     3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $216,000.00
              DEJINCHANG OPTOELECTRONICS
              TECHNOLOGY                                                            Contingent
              Afraz Hack                                                            Unliquidated
              5808 58th Avenue                                                      Disputed
              Maspeth, NY 11378
                                                                                 Basis for the claim:    Trade Debts
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


     3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,732,194.50
              Depcom Power Inc.                                                     Contingent
              Jennifer C. Hayes                                                     Unliquidated
              9185 E Pima Center Pkwy, Suite 100
              Scottsdale, AZ 85258                                                  Disputed

              Date(s) debt was incurred                                          Basis for the claim:    Court Judgment
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

     3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $597,000.00
              East West Bank, Dorothy Zhao                                          Contingent
              900 Webster St., 2nd Fl                                               Unliquidated
              Oakland, CA 94607                                                     Disputed
              Date(s) debt was incurred
                                                                                 Basis for the claim:    Bank Loan
              Last 4 digits of account number
                                                                                 Is the claim subject to offset?     No       Yes

     3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $275,918.00
              Edges Electrical Group                                                Contingent
              Shawna Crandell                                                       Unliquidated
              1701 National Drive Suite 200                                         Disputed
              Sacramento, CA 95765
                                                                                 Basis for the claim:    Trade Debts
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


     3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,064,139.27
              Kai Yu                                                                Contingent
              Hangzhou Freedom Import&Export Co.,LTD.                               Unliquidated
              No.9-1, Binwen Roard, Bingjiang District                              Disputed
              Hangzhou, P.R.China
                                                                                               Kai Yu
                                                                                 Basis for the claim:
              Date(s) debt was incurred
                                                                                 +86-57188253203
              Last 4 digits of account number                                    yukai@confirmware.com
                                                                                 Trade Debts
                                                                                 Is the claim subject to offset?     No       Yes

     3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $465,200.00
              LIGHT & HOPE ENERGY INC                                               Contingent
              Lynton Lin                                                            Unliquidated
              17800 Castleton Street Suite 406                                      Disputed
              City of Industry, CA 91748
                                                                                 Basis for the claim:    Trade Debts
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 6
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     Debtor       Sunergy California LLC                                                                  Case number (if known)
                  Name

     3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $446,243.70
              NINGBO GZX PV TECHNOLOGY CO,.LTD                                      Contingent
              Sam Cen, No. 28 Binhai 5th Road,                                      Unliquidated
              Hangzhou Bay NewDistrict,Cixi, Zhejiang,
                                                                                    Disputed
              P.R.China
              Date(s) debt was incurred
                                                                                 Basis for the claim:    Trade Debts
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

     3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,375.19
              RFK GLOBAL PLLC                                                       Contingent
              THOMAS ROSENBERG                                                      Unliquidated
              200 West Madison Street, Suite 1940,                                  Disputed
              Chicago, IL 60606
                                                                                 Basis for the claim:    Professional Services
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


     3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,926,930.05
              Seraphim Solar USA Manufacturing Inc.                                 Contingent
              Steven Ostrenga                                                       Unliquidated
              3111 Lawson St
                                                                                    Disputed
              Jackson, MS 39213
              Date(s) debt was incurred
                                                                                 Basis for the claim:    Litigation
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

     3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $664,775.40
              SFC CO., LTD. James Gwon                                              Contingent
              682 Naepo-ro, Guhang-myeon                                            Unliquidated
              Hongseong-gun, Chungnam-do, 32213,                                    Disputed
              Korea
                                                                                                 Trade Debts
                                                                                 Basis for the claim:
              Date(s) debt was incurred
                                                                                 James Gwon
              Last 4 digits of account number                                    +82 41 640 0002
                                                                                 gsg@sfcltd.co.kr
                                                                                 Is the claim subject to offset?     No       Yes

     3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $236,860.54
              Shanghai Sunby solar technology Co., Ltd                              Contingent
              Vito, Room 102 Building 1, South Hongmei                              Unliquidated
              Road, 833, Minhang District, Shanghai,                                Disputed
              China
                                                                                 Basis for the claim:    Trade Debts
              Date(s) debt was incurred
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


     3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $500,395.10
              Solare America Inc. , John Scorsone                                   Contingent
              207 State Road, Suite 100                                             Unliquidated
              Upper Darby, PA 19082                                                 Disputed
              Date(s) debt was incurred
                                                                                 Basis for the claim:    Trade Debts
              Last 4 digits of account number
                                                                                 Is the claim subject to offset?     No       Yes

     3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $175,000.00
              Sunrise Energy Solutions, INC.                                        Contingent
              Jordan W. Maurer                                                      Unliquidated
              1780 Vernon Street Suite 6
                                                                                    Disputed
              Roseville, CA 95678
              Date(s) debt was incurred
                                                                                 Basis for the claim:    Litigation
              Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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     Debtor       Sunergy California LLC                                                                  Case number (if known)
                  Name

     3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $177,420.10
               TAINERGY TECH. CO. LTD.                                              Contingent
               No.5, Ziqiang 1st Rd., Zhongli Dist.,                                Unliquidated
               Taoyuan City 320, Taiwan                                             Disputed
               Date(s) debt was incurred
                                                                                                 Trade Debts
                                                                                 Basis for the claim:
               Last 4 digits of account number                                   CHARLIE FAN
                                                                                 +886 32726688
                                                                                 charlie.fan@tainergy.com
                                                                                 Is the claim subject to offset?       No     Yes

     3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $263,701.57
               U.S. Customs and Border Protection                                   Contingent
               6650 Telecom Drive Suite 100                                         Unliquidated
               Indianapolis, IN 46278
                                                                                    Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:    CBP Bill
               Last 4 digits of account number
                                                                                 Is the claim subject to offset?       No     Yes

     3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $771,049.58
               Warner Energy, LLC                                                   Contingent
               Joseph Drescher                                                      Unliquidated
               7526 Morgan Road                                                     Disputed
               Liverpool, NY 13090
                                                                                 Basis for the claim:    Trade Debts
               Date(s) debt was incurred
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


     3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $881,849.12
               XPO GLOBAL FORWARDING, INC.                                          Contingent
               Gene Komsky                                                          Unliquidated
               290 Gerzevske Lane
                                                                                    Disputed
               Carol Stream, IL 60188
               Date(s) debt was incurred
                                                                                 Basis for the claim:    Trade Debts
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

     3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $343,524.00
               YIYIN ENERGY VIET NAM., LTD
               Jiang Hai Ying LOT B6, DINH TRAM
               INDUSTR                                                              Contingent
               ZONE,HOANG NINH COMMUNE, VIET YEN                                    Unliquidated
               DISTRICT, BAC GIANG PROVINCE,                                        Disputed
               VIETNAM
                                                                                 Basis for the claim:    Trade Debts
               Date(s) debt was incurred
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                          related creditor (if any) listed?             account number, if
                                                                                                                                                        any

     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                            Total of claim amounts
     5a. Total claims from Part 1                                                                            5a.        $                            0.00
     5b. Total claims from Part 2                                                                            5b.   +    $                   15,857,541.53

    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 6
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     Debtor       Sunergy California LLC                                                              Case number (if known)
                  Name


     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                            5c.     $              15,857,541.53




    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 6 of 6
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     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.    Does the debtor have any executory contracts or unexpired leases?
            No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired
                                                                                        lease

     2.1.        State what the contract or                   Workers Comp TX
                 lease is for and the nature of               Policy No. WCV6174764
                 the debtor's interest                        Premium: $443.00

                      State the term remaining                10/01/2019 - 10/01/2020

                 List the contract number of any                                            Accident Fund
                       government contract


     2.2.        State what the contract or                   Workers Comp CA
                 lease is for and the nature of               Policy No. WCV5501769
                 the debtor's interest                        Premium: $95,080.00

                      State the term remaining                10/01/2019 - 10/01/2020

                 List the contract number of any                                            CompWest
                       government contract


     2.3.        State what the contract or                   Employee Dental
                 lease is for and the nature of               Premium: $1,604.64
                 the debtor's interest

                      State the term remaining                08/01/2020 - 08/01/2021

                 List the contract number of any                                            Cypress Ancillary Benefits
                       government contract


     2.4.        State what the contract or                   Pollution
                 lease is for and the nature of               Policy No. 5387784
                 the debtor's interest                        Premium: $18,723.49

                      State the term remaining                08/13/2020 - 08/13/2021

                 List the contract number of any                                            Great American
                       government contract




    Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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Filed 01/20/21                                                                       Case 21-20172                                                             Doc 1
     Debtor 1 Sunergy California LLC                                                                   Case number (if known)
                  First Name               Middle Name                   Last Name



                Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired
                                                                                           lease

     2.5.        State what the contract or                   Commerical Auto
                 lease is for and the nature of               Policy No.
                 the debtor's interest                        57UENFM9513
                                                              Premium: $5,456.00
                      State the term remaining                11/10/2019 - 11/20/2020

                 List the contract number of any                                               Hartford
                       government contract


     2.6.        State what the contract or                   General Liability
                 lease is for and the nature of               Policy No.
                 the debtor's interest                        57UENFM4085
                                                              Premium: $3,233.00
                      State the term remaining                03/21/2020 - 03/21/2021

                 List the contract number of any                                               Hartford
                       government contract


     2.7.        State what the contract or                   Property Choice
                 lease is for and the nature of               Policy No.
                 the debtor's interest                        57UUNFM9389
                                                              Premium: $5,181.00
                      State the term remaining                03/21/2020 - 03/21/2021

                 List the contract number of any                                               Hartford
                       government contract


     2.8.        State what the contract or                   Umbrella Liability
                 lease is for and the nature of               Policy No.
                 the debtor's interest                        57RHUFM9327
                                                              Premium: $7,828.00
                      State the term remaining                03/21/2020 - 03/21/2021

                 List the contract number of any                                               Hartford
                       government contract


     2.9.        State what the contract or                   Employee Medical
                 lease is for and the nature of               Premium: $90,000.00
                 the debtor's interest

                      State the term remaining                08/01/2020 - 08/01/2021

                 List the contract number of any                                               Kaiser Permanante
                       government contract


     2.10.       State what the contract or                   Cargo
                 lease is for and the nature of               Policy No.
                 the debtor's interest                        CH18CAR0BLM9401
                                                              Premium: $28,434.00
                      State the term remaining                12/01/2019 - 12/01/2020
                                                                                               Marsh Rish & Insurance Services
                 List the contract number of any
    Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 4
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     Debtor 1 Sunergy California LLC                                                                   Case number (if known)
                  First Name               Middle Name                   Last Name



                Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired
                                                                                           lease

                        government contract


     2.11.       State what the contract or                   Monthly Rent
                 lease is for and the nature of               $45,866.00
                 the debtor's interest                        Security Deposit $
                                                              Tenancy Address:
                                                              4801/4741 Urbani Ave,
                                                              McClellan park, CA
                                                              95652
                      State the term remaining                12/15/2016 - 11/30/2017
                                                                                               MP Holdings, LLC
                 List the contract number of any                                               3140 Peacekeeper Way
                       government contract                                                     McClellan, CA 95652


     2.12.       State what the contract or                   Monthly Rent $2,395.00
                 lease is for and the nature of               Security Deposit
                 the debtor's interest                        $1,500.00
                                                              Tenancy Address: 3401
                                                              Westover Street,
                                                              McClellan, CA 95652
                      State the term remaining                07/01/2020 - 06/30/2021
                                                                                               MP1300 LLC c/o the Garibaldi Company
                 List the contract number of any                                               3525 W. Benjamin Holt Drive
                       government contract                                                     Stockton, CA 95219


     2.13.       State what the contract or                   Monthly Rent $1,875.00
                 lease is for and the nature of               Security Deposit
                 the debtor's interest                        $1,500.00
                                                              Tenancy Address: 3416
                                                              McClellan, McClellan,
                                                              CA 95652
                      State the term remaining                08/01/2020 - 07/31/2021
                                                                                               MP1300 LLC c/o the Garibaldi Company
                 List the contract number of any                                               3525 W. Benjamin Holt Drive
                       government contract                                                     Stockton, CA 95219


     2.14.       State what the contract or                   Monthly Rent $1,975.00
                 lease is for and the nature of               Security Deposit
                 the debtor's interest                        $1,500.00
                                                              Tenancy Address: 3422
                                                              McClellan Mall,
                                                              McClellan, CA 95652
                      State the term remaining                08/01/2020 - 07/31/2021
                                                                                               MP1300 LLC c/o the Garibaldi Company
                 List the contract number of any                                               3525 W. Benjamin Holt Drive
                       government contract                                                     Stockton, CA 95219


     2.15.       State what the contract or                   EPLI
                 lease is for and the nature of               Policy No. 107133805
                 the debtor's interest                        Premium: $20,750.00
                                                                                               Risk Placement Services
                      State the term remaining                08/05/2020 - 08/05/2021
    Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 3 of 4
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     Debtor 1 Sunergy California LLC                                                                   Case number (if known)
                  First Name               Middle Name                   Last Name



                Additional Page if You Have More Contracts or Leases

     2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired
                                                                                           lease


                 List the contract number of any
                       government contract


     2.16.       State what the contract or                   Employee Medical
                 lease is for and the nature of               Premium: $20,343.72
                 the debtor's interest

                      State the term remaining                08/01/2020 - 07/31/2021

                 List the contract number of any                                               WHA
                       government contract




    Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 4 of 4
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     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                       12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

          1. Do you have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

       2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
          creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
          on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
                Column 1: Codebtor                                                                        Column 2: Creditor



                 Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                     that apply:
        2.1                                                                                                                             D
                                                   Street                                                                               E/F
                                                                                                                                        G

                                                   City                  State      Zip Code


        2.2                                                                                                                             D
                                                   Street                                                                               E/F
                                                                                                                                        G

                                                   City                  State      Zip Code


        2.3                                                                                                                             D
                                                   Street                                                                               E/F
                                                                                                                                        G

                                                   City                  State      Zip Code


        2.4                                                                                                                             D
                                                   Street                                                                               E/F
                                                                                                                                        G

                                                   City                  State      Zip Code




    Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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Filed 01/20/21                                                                 Case 21-20172                                                                              Doc 1




     Fill in this information to identify the case:

     Debtor name         Sunergy California LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:      Income

    1. Gross revenue from business

               None.

           Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
           which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                               exclusions)

           For year before that:                                                                       Operating a business                            $-1,627,900.64
           From 1/01/2019 to 12/31/2019
                                                                                                       Other

    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

               None.

                                                                                                   Description of sources of revenue           Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)

     Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

               None.

           Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                                   Check all that apply

    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
       may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

               None.

           Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
           Relationship to debtor



    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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     Debtor       Sunergy California LLC                                                                    Case number (if known)



           Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
           Relationship to debtor
           4.1.    Sunergy Hong Kong                                           11/15/2019,                     $861,779.08           Prepaid Expense
                                                                               11/18/2019,
                   Creditor                                                    11/19/2019,
                                                                               and
                                                                               12/12/2019

           4.2.    Joey                                                        07/08/2019 -                     $23,104.00           Joey's Rent Expense
                                                                               08/28/2020

           4.3.    Joey                                                        07/09/2019 -                     $18,488.49           Reimbursement
                                                                               08/06/2020

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

               None

           Creditor's name and address                               Describe of the Property                                      Date                  Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

               None

           Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                                   taken

     Part 3:      Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

               None.

                   Case title                                        Nature of case             Court or agency's name and                Status of case
                   Case number                                                                  address
           7.1.    Depcom Power, Inc., vs.                                                      United States District Court                 Pending
                   CSUN Solar Inc. et al.                                                       of Northern                                  On appeal
                   4:18-cv-00729-JST                                                            District of CA Oakland
                                                                                                                                             Concluded
                                                                                                Division
                                                                                                450 Golden Gate Avenue
                                                                                                San Francisco, CA 94102

           7.2.    XPO Global Forwarding, Inc.,                      Breach of                  Superior Court of California                 Pending
                   et al. v. Sunergy California,                     Contract                   Sacramento                                   On appeal
                   LLC                                                                          720 Ninth Street
                                                                                                                                             Concluded
                   34-2020-00283087                                                             Sacramento, CA 95814-1380

           7.3.    Cypress Creek EPC, LLC, v.                        Breach of                  Superior Court of California                 Pending
                   CSUN Solar, Inc; California                       Contract                   Los Angeles                                  On appeal
                   Sunergy, LLC                                                                 111 N. Hill Street
                                                                                                                                             Concluded
                   SC129245                                                                     Los Angeles, CA 90012




    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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     Debtor       Sunergy California LLC                                                                        Case number (if known)



                   Case title                                        Nature of case               Court or agency's name and             Status of case
                   Case number                                                                    address
           7.4.    Seraphim Solar USA                                Breach of                    Superior Court of Santa                     Pending
                   Manufacturing, Inc. v. China                      Contract                     Clara                                       On appeal
                   Sunergy CO., LTD et. al.                                                       191 North First Street
                                                                                                                                              Concluded
                   18CV334364                                                                     San Jose, CA 95113

           7.5.    Sunrise Energy Solutions,                         Breach of                    Superior Court of the State                 Pending
                   Inc. v. China Sunergy et. al.                     Contract                     of CA                                       On appeal
                   SCV0041243                                                                     County of Placer
                                                                                                                                              Concluded
                                                                                                  10820 Justice Center Drive
                                                                                                  Roseville, CA 95678


    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

               None


     Part 4:      Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

               None

                   Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


     Part 5:      Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

               None

           Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
           how the loss occurred                                                                                                                                       lost
                                                                     If you have received payments to cover the loss, for
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.

                                                                     List unpaid claims on Official Form 106A/B (Schedule
                                                                     A/B: Assets – Real and Personal Property).
           Caused by Wrong Data Entry                                                                                                                                  $0.00


     Part 6:      Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

               None.




    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3
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     Debtor        Sunergy California LLC                                                                    Case number (if known)



                    Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                    the transfer?                                                                                                                            value
                    Address
           11.1.    Gonzalez & Gonzalez Law,
                    P.C.
                    530 S Hewitt Street, Suite 148
                    Los Angeles, CA 90013                                Attorney Fees [Pre- BK Related Work]                      08-10-2020             $7,776.35

                    Email or website address
                    rossgonzalez@gonzalezplc.com

                    Who made the payment, if not debtor?




           11.2.    Gonzalez & Gonzalez Law,
                    P.C.
                    530 S Hewitt Street, Suite 148
                    Los Angeles, CA 90013                                Attorney Fees                                             08-10-2020           $42,223.65

                    Email or website address
                    rossgonzalez@gonzalezplc.com

                    Who made the payment, if not debtor?




    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

               None.

           Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                          were made                          value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

               None.

                   Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
                   Address                                           payments received or debts paid in exchange             was made                        value

     Part 7:       Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


               Does not apply

                    Address                                                                                                    Dates of occupancy
                                                                                                                               From-To
           14.1.    4741 Urbani Ave
                    McClellan Park, CA 95652

     Part 8:       Health Care Bankruptcies

    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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     Debtor        Sunergy California LLC                                                                   Case number (if known)



        - providing any surgical, psychiatric, drug treatment, or obstetric care?

                No. Go to Part 9.
                Yes. Fill in the information below.


                     Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                     the debtor provides                                                    and housing, number of
                                                                                                                                            patients in debtor’s care

     Part 9:       Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

                No.
                Yes. State the nature of the information collected and retained.

    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

                No. Go to Part 10.
                Yes. Does the debtor serve as plan administrator?


     Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

               None
                   Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
                   Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                          moved, or                          transfer
                                                                                                                          transferred
           18.1.     East West Bank                                  XXXX-6474                   Checking                                                  Unknown
                     9300 Flair Drive 4th FL                                                     Savings
                     El Monte, CA 91731
                                                                                                 Money Market
                                                                                                 Brokerage
                                                                                                 Other


    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


               None

           Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                         access to it                                                                have it?
                                                                         Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


               None

           Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                         access to it                                                                have it?



    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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     Debtor      Sunergy California LLC                                                                     Case number (if known)



     Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

            None


     Part 12:     Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
          owned, operated, or utilized.

          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
          similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No.
                Yes. Provide details below.

           Case title                                                    Court or agency name and             Nature of the case                            Status of case
           Case number                                                   address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

                No.
                Yes. Provide details below.

           Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                         address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

                No.
                Yes. Provide details below.

           Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                         address

     Part 13:     Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

              None

        Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.

                                                                                                                   Dates business existed

    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                 None

           Name and address                                                                                                                        Date of service
                                                                                                                                                   From-To

    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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     Debtor      Sunergy California LLC                                                                     Case number (if known)



           Name and address                                                                                                                 Date of service
                                                                                                                                            From-To
           26a.1.       Lingling Zhang                                                                                                      03/05/2020 -
                        11683 Melones Circle                                                                                                08/05/2020
                        Gold River, CA 95670
           26a.2.       PSG Certified Public Accountants                                                                                    02/20/2019 -
                        9257 Sierra College Blvd., Suite B                                                                                  04/21/2020
                        Roseville, CA 95661
           26a.3.       Sung, Huang & Co, CPA's, LLP                                                                                        12/04/2018
                        18403 Pioneer Blvd. Ste 206
                        Artesia, CA 90701

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

                  None


        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                  None

           Name and address                                                                                      If any books of account and records are
                                                                                                                 unavailable, explain why
           26c.1.       Sally Zhou


           26c.2.       Jiejin Lin


           26c.3.       Yamei He


           26c.4.       Jinsheng Qiao


           26c.5.       Egemen Seymen



        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

                  None

           Name and address
           26d.1.       Virtue Deep PTE Ltd


           26d.2.       Seul Energy Manufacturing Private Ltd


           26d.3.       China Sunergy Co. Ltd


           26d.4.       Avalon Risk Management Insurance Agency




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     Debtor      Sunergy California LLC                                                                     Case number (if known)



           Name and address
           26d.5.       Franchise Tax Board
                        P.O. Box 2952
                        Sacramento, CA 95812
           26d.6.       Internal Revenue Service
                        4330 Watt Ave
                        Sacramento, CA 95821
           26d.7.       Lingling Zhang
                        11683 Melones Circle
                        Gold River, CA 95670
           26d.8.       PSG Certified Public Accountants
                        9257 Sierra College Blvd. Ste B
                        Roseville, CA 95661
           26d.9.       Sung, Hung & Co, CPA's, LLP
                        18403 Pioneer Blvd. Ste 206
                        Artesia, CA 90701

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

                No
                Yes. Give the details about the two most recent inventories.

                    Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                    inventory                                                                                            or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Sunergy America LLC                                                                                Owner                                 98%


           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Eco Energy Business,                                                                               Owner                                 2
           S.L.R.

           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Virtue Deep PTE Ltd                                                                                Owner                                 60


           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           China Sunergy                                                                                      Owner                                 20


           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Seul Energy Manufacturing                                                                          Owner                                 20
           Private Ltd

           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Xiaoli Zhou                                                                                        Board of Managers




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     Debtor      Sunergy California LLC                                                                     Case number (if known)



           Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                              interest                          any
           Lu Han                                                                                             Board of Managers


           Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                              interest                          any
           Guo Hongjian                                                                                       Board of Managers


           Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                              interest                          any
           Fang Bo                                                                                            Financial Controller


           Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                              interest                          any
           Egemen Seymen                                                                                      Board of Managers


           Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                              interest                          any
           Joey Qiao                                                                                          General Manager




    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


                No
                Yes. Identify below.

           Name                                           Address                                             Position and nature of any    Period during which
                                                                                                              interest                      position or interest
                                                                                                                                            was held
           Sunergy America LLC                                                                                100% Sole Owner of the        01/31/2017 -
                                                                                                              Company                       03/15/2017


    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

                No
                Yes. Identify below.

                   Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                     property                                                               providing the value
           30.1 Jinsheng Qiao                                                                                                07/08/2019 -
           .                                                         23,104.00                                               08/28/2020     Rent Expense

                   Relationship to debtor



           30.2 Jinsheng Qiao                                                                                                07/09/2019 -
           .                                                         18,488.49                                               08/06/2020     Salary

                   Relationship to debtor




    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
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                               Accident Fund



                               Aluko America, Inc.
                               Michael John
                               330 Washington St., PMB 431
                               Hoboken, NJ 07030


                               Atlantic Clean Energy Supply LLC.
                               Gene Li
                               18 Culnen Drive
                               Branchburg, NJ 08876


                               Avalon Risk Management Insurance Agency
                               150 NW Point Blvd 2nd Floor
                               Elk Grove Village, IL 60007


                               Borrego Solar Systems, Inc.
                               Aaron Hall
                               5005 Texas Street, Suite 400
                               San Diego, CA 92108


                               CHANGZHOU ALMADEN CO., LTD NO.639
                               Mingxing Zhou, QINGLONG EAST ROAD,
                               CHANGZHOU, JIANGSU, CHINA


                               CHINA MACHINERY INDUSTRY
                               INTERNATIONAL COOPERATION CO., LTD.
                               Building A No.18 Dirun Road, Zhengdong
                               New District, Zhengzhou, Henan Province,


                               Coldwell Solar LLC
                               Dave Hood
                               500 Menlo Dr #100
                               Rocklin, CA 95765


                               CompWest



                               Cypress Ancillary Benefits
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                               DEJINCHANG OPTOELECTRONICS TECHNOLOGY
                               Afraz Hack
                               5808 58th Avenue
                               Maspeth, NY 11378


                               Depcom Power Inc.
                               Jennifer C. Hayes
                               9185 E Pima Center Pkwy, Suite 100
                               Scottsdale, AZ 85258


                               East West Bank, Dorothy Zhao
                               900 Webster St., 2nd Fl
                               Oakland, CA 94607


                               Edges Electrical Group
                               Shawna Crandell
                               1701 National Drive Suite 200
                               Sacramento, CA 95765


                               EMPLOYMENT DEVELOPMENT DEPT.
                               P.O. BOX 826880 MIC 28
                               Sacramento, CA 94280


                               FRANCHISE TAX BOARD
                               P.O. BOX 2952
                               Sacramento, CA 95812-2952


                               Great American



                               Hartford



                               Internal Revenue Service
                               4330 Watt Ave
                               Sacramento, CA 95821


                               Kai Yu
                               Hangzhou Freedom Import&Export Co.,LTD.
                               No.9-1, Binwen Roard, Bingjiang District
                               Hangzhou, P.R.China


                               Kaiser Permanante
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                               LIGHT & HOPE ENERGY INC
                               Lynton Lin
                               17800 Castleton Street Suite 406
                               City of Industry, CA 91748


                               Marsh Rish & Insurance Services



                               MP Holdings, LLC
                               3140 Peacekeeper Way
                               McClellan, CA 95652


                               MP1300 LLC c/o the Garibaldi Company
                               3525 W. Benjamin Holt Drive
                               Stockton, CA 95219


                               NINGBO GZX PV TECHNOLOGY CO,.LTD
                               Sam Cen, No. 28 Binhai 5th Road,
                               Hangzhou Bay NewDistrict,Cixi, Zhejiang,
                               P.R.China


                               RFK GLOBAL PLLC
                               THOMAS ROSENBERG
                               200 West Madison Street, Suite 1940,
                               Chicago, IL 60606


                               Risk Placement Services



                               Seraphim Solar USA Manufacturing Inc.
                               Steven Ostrenga
                               3111 Lawson St
                               Jackson, MS 39213


                               SFC CO., LTD. James Gwon
                               682 Naepo-ro, Guhang-myeon
                               Hongseong-gun, Chungnam-do, 32213, Korea


                               Shanghai Sunby solar technology Co., Ltd
                               Vito, Room 102 Building 1, South Hongmei
                               Road, 833, Minhang District, Shanghai,
                               China
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                               Solare America Inc. , John Scorsone
                               207 State Road, Suite 100
                               Upper Darby, PA 19082


                               Sunrise Energy Solutions, INC.
                               Jordan W. Maurer
                               1780 Vernon Street Suite 6
                               Roseville, CA 95678


                               TAINERGY TECH. CO. LTD.
                               No.5, Ziqiang 1st Rd., Zhongli Dist.,
                               Taoyuan City 320, Taiwan


                               U.S. Customs and Border Protection
                               6650 Telecom Drive Suite 100
                               Indianapolis, IN 46278


                               Warner Energy, LLC
                               Joseph Drescher
                               7526 Morgan Road
                               Liverpool, NY 13090


                               WHA



                               XPO GLOBAL FORWARDING, INC.
                               Gene Komsky
                               290 Gerzevske Lane
                               Carol Stream, IL 60188


                               YIYIN ENERGY VIET NAM., LTD
                               Jiang Hai Ying LOT B6, DINH TRAM INDUSTR
                               ZONE,HOANG NINH COMMUNE, VIET YEN
                               DISTRICT, BAC GIANG PROVINCE, VIETNAM
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